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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                                               )                   Case No: 8:06CR116
                               Plaintiff,      )
                  v.                           )                 ORDER OF DETENTION
                                               )
LAVELLE GILES,                                 )
                                               )
                               Defendant.




            On June 16, 2006 the defendant appeared before Magistrate Judge Thomas D.
     Thalken in case 8:03CR145 regarding a violation of supervised release. Magistrate
     Judge Thalken issued an order [52] detaining the defendant. For that reason,
     defendant is ordered detained in 8:06CR116 pursuant to Magistrate Judge Thalken’s
     order. Should defendant obtain release in case 8:03CR145, he is to appear before
     Magistrate Judge Gossett for a determination of detention.

           IT IS SO ORDERED.

     DATED this 29th day of June, 2006.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
